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                             UNITED STATES DISTRICT COURT
                              MIDDLE DISTRICT OF FLORIDA
                                  FORT MYERS DIVISION

UNITED STATES OF AMERICA

v.                                                   CASE NO.: 2:19-cr-150-FtM-38NPM

ALEX JARED ZWIEFELHOFER
                                    /

                                    Status Conference

 Presiding Judge:                United States District Judge Sheri Polster Chappell
 Counsel for Plaintiff(s):       Jose Casas
 Counsel for Defendant(s):       D. Todd Doss / Susan Marcus / Erin Hyde


 Date and Time:                  March 9, 2020
                                 09:30 AM
 Deputy Clerk:                   Allison Holland
 Court Reporter:                 Susan Baker
 Interpreter:


Start Time:     9:38 AM

       Attorney Casas for Government; Attorneys D. Todd Doss, Susan Marcus and Erin
       Hyde for defendant; the defendant is not present. Defense advises waiting for co-
       defendant (Lang) to be extradited; still receiving discovery from Government; case
       moving along as expected. Travel related issues discussed at SIDEBAR. Defense
       request to extend to August docket. No objection from the Government.

       Matter continued to the August 2020 Trial Cycle beginning August 10, 2020, with
       a special set Status Conference on July 27, 2020 @ 9:30am.

       The Court finds that the ends of justice are served by granting this continuance
       and excludes all time from today until the end of the August 2020 trial term.


End time:       9:51 AM
